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The Honorable William Alsup
United States District Court Judge
Northern District of California
Courtroom g, lgth Floor
450 Golden Gate Avenue
San Francisco, Califomia 94102

Re:     Oracle America, Inc. v. Google, Inc.,CaseNo. 3:10-cv-03561-WHA
        Second Request for Discovery Relief

Dear Judge Alsup:

        As a result of Google's failure to supplement its responses to Oracle's Interrogatories
4-16, Oracle is forced to seek the Court's assistance. Oracle previously raised the issue of
Google's deficient interrogatory responses in its First Request for Discovery Relief (Dkt.
No. 77), submitted on February 1,2011. Following a Court-ordered meet-and-confer on
February 9, counsel for Oracle reported to the Court that the parties had agreed to "engage[e]
better with each other in attempting to resolve these disagreements." Google's counsel
expressly acknowledged this agreement to "engage." Yet, more than a month later, Google
has done nothing to correct its deficient responses and has failed to engage with Oracle to
resolve these issues. Oracle communicated its concerns regarding the interrogatory
responses to Google in a letter dated March 8,2011, followed-up by an e-mail on March 23,
and a voicemail on March 24,but Google has not responded. Accordingly, the Court's
assistance is now required.

         Oracle's Interrogatories 4-16 (see attachment to Dkt. No. 77) seek the "factual and
legal bases" for Google's affirmative defenses. Because Google's answer to Oracle's
complaint did not plead facts sufficient to support its affirmative defenses, Oracle moved to
strike the defenses on October 26,2010. Oracle subsequently withdrew the motion based on
the expectation that Google's interrogatory responses would detail the bases for Google's
affirmative defenses. But Google's responses contain little substance, and instead provide
general denials, boilerplate objections, and blanket incorporations by reference. The
following are examples of the deficiencies in Google's interrogatory responses:




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        Interrogatory 4 - This interrogatory seeks Google's bases for its "Patent
Unenforceability (Waiver, Estoppel, Laches)" defense. In response, Google asserts that
"Oracle was aware of Android pursuant to discussions with Andy Rubin prior to Android's
acquisition by Google, which are believed to have occurred at least as early as 2005." (Dkt.
No. 77 at 13.) Even if true, mere awareness that Android existed is not enough to support a
claim of patent unenforceability. To provide any basis for the asserted defense, Google must
address factors such as when Oracle was or should have been aware of Google's
wrongdoing, and whether Oracle misled Google or waited unreasonably before filing this
lawsuit. Google has offered no facts or explanation regarding this.

        Interrogatory 5 - Bases for "Substantial Non-Infringing LJses" defense: Google states
that "the Accused Instrumentalities, such as mobile handsets, are capable of substantial
noninfringing uses." (Id. at 15.) But Google does not identify or describe a single such use.
Instead, Google insists that, "[a]s presently understood, all uses are noninfringing uses for the
reasons cited in response to Interrogatory No. 3." Google's response to Interrogatory 3 lists
Google's non-infringement positions, but does not identi$r and explain which uses of
Android are allegedly both non-infringing and substantial.

        Interrogatory 6 - Bases for "Limitation on Patent Damages" defense: Google asserts
that "Oracle has not given notice to the public by properly marking products . . . and any
damages are therefore limited pursuant to 35 U.S.C . ç 287 ." (Id. at 17). However, this
conclusory statement does not provide a basis for the defense, especially inasmuch as many
of the asserted patent claims are method claims, for which marking is not required.

         Interrogatory 7 - Bases for "Misuse" defense: Google's only assertion is that Oracle
"used its copyright registrations in an attempt to extract licensing revenue for a larger body
of material than what is covered . . . and to restrict the rights of third parties to truthfully state
that, for example, products are'Java compatible."' (Id. at I9). But this assertion with
respect to "copyright registrations" has nothing to do with alleged patent misuse. Even with
respect to the copyrights, Google never identifies which third parties allegedly had their
rights restricted or what licensing revenue was allegedly extracted via misuse of copyrights.

        Interrogator)¡ 9 - Bases for "Elements Not Protected By Copyright" defense: Oracle
provided Google with a detailed explanation of its copyright allegations, identiffing fourteen
registered copyrighted works, f,rfty-one Java API specifications, and specific examples of
 copied source code. Google's response only lists vague categories of purportedly
unprotected elements, such as "key words and operators" and "programming methods. (Id.
at2l.) V/hile Google represented to the Court on February 16 that it is ready for summary
judgment on this issue, it has not explained which words, operators, and programming
methods it believes are not protected by copyrights.




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        Interrogatory 11 - Bases for "Fair Use" defense: Oracle has identified specific Java
copyrighted materials that were copied by Google into Android. Google's response to
Interrogatory 1 1 generally asserts that any such copying was Fair Use, but does not address
how any of the specific identified instances of copying purportedly constituted Fair Use.

       Interrogatory 12 - Bases for "No Intent to Induce Copyright Infringement" defense:
Google asserts that "its intention not to induce infringement is evidenced by . . . the fact that
Android was developed through independent creation and use of material duly licensed or
unprotectable . . . ." (Id. at27.) But Google does not explain how the infringing materials
were independently created and what allegedly licensed material Google used.

       Interrogatory 13 - Bases for "Independent Creation" defense: Again, Google does
not identiff which, if any, of the copied Oracle APIs, documentation, and source and binary
code were purportedly independently created by Google.

        Interrogatory 15 - Bases for "License and Implied License" defenses: Google still
has not identifred anylicenses that might support a license defense. Oracle has produced its
Java licenses, but Google has not explained how any of them or any others licenses grant
licensees the right to make, use, and sell Android-powered devices.

        Interrogatory 16 - Bases for "Unclean Hands" defense: Google asserts that Oracle
misused its intellectual property by attempting to "impermissibly expand the scope of the
asserted patents and copyrights by requiring licensees to license items not covered by
Oracle's alleged intellectual property in order to receive a license . . . ." (Id. at 35.) But this
is merely a generic recitation of a misuse defense, as Google does not provide any facts
regarding which particular licenses and licensees its referring to and how such licensing
activity allegedly constituted misuse of Oracle's intellectual property.

       For the foregoing reasons, Oracle respectfully requests that the Court compel Google
to supplement its responses to Interrogatories 4-16by April 8.

Respectfully    bmitted,




Michael A. Jacobs
Counsel for Plaintiff Oracle America, Inc.

        Counsel for Google Inc.




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